The parties now have executed and submitted for approval Compromise Settlement Agreement. That Agreement is incorporated herein by reference, and is approved in the amount of $15,000.00. Compliance with the terms of the Agreement shall discharge defendants from further liability under the Workers' Compensation Act by reason of the injury giving rise to this claim.
It is expressly recognized that plaintiff's claim is strongly contested, that defendants are not by this agreement admitting liability and that plaintiff, by accepting the Agreement which provides for payment only of unpaid medical bills, is avoiding the risk that the claim will be totally denied by the Commission.
An attorney's fee in the amount of $3,750.00 is approved for plaintiff's counsel. This amount shall be deducted from the sum due plaintiff and paid directly to plaintiff's counsel.
It is to be noted, however, that this Order does not purport to approve, resolve or address any issue or matter over which the Industrial Commission has no jurisdiction, whether or not such issue or matter is referred to in the compromise settlement agreement executed by the parties in this action.
Defendants shall pay the costs.
                                  S/ ________________________ THOMAS J. BOLCH COMMISSIONER